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K RANJAC T RIPODI & P ARTNERS                                                      LLP
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                                                      July 17, 2018

Via ECF
Hon. Michael A. Hammer, USMJ
Martin Luther King Building
& U.S. Courthouse
50 Walnut Street
Newark, NJ 07101

       Re:       Cioffi v. Borough of Englewood Cliffs, et al.
                 Civil Action No. 2:16-cv-4536-WJM-MF

Dear Judge Hammer:

       This firm represents Defendant Mario Kranjac in the above-referenced matter. Mr.
Kranjac is the Mayor of Englewood Cliffs. We write to request relief from the Confidentiality
Order so that Mayor Kranjac may present one of Plaintiff’s audio recordings to appropriate law
enforcement authorities. 1

        The specific audio recording, contained in electronic file entitled “DM620061”, reveals
discussions between Chief Cioffi and other police officers wherein Chief Cioffi directs that time
records for certain training, which had occurred years earlier, be created after-the-fact in order
respond to an inquiry from the Borough Attorney for such records. That training, known as
Emergency Response Team (“ERT”) training, may have been funded, at least in part, with
federal funds.

        We understand that the Bergen County Prosecutor’s office reviewed part of this matter
approximately two years ago. At the time, however, Chief Cioffi had not yet produced any of his
audio recordings, including DM620061. Therefore, it appears the Bergen County Prosecutor’s
office did not have this potentially critical evidence at the time of their investigation.
Furthermore, there was no referral the United States Attorney’s office, despite the possibility of
federal funding for ERT training.



       1 As set forth in prior submissions to Your Honor, Plaintiff has designated all of his
recordings as “Attorneys Eyes Only” under the Confidentiality Order (although he has agreed to
allow parties to listen to the recordings at the offices of their respective attorneys).

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KRANJAC TRIPODI & PARTNERS LLP
ATTORNEYS AT LAW

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        Mayor Kranjac has an obligation to the residents of Englewood Cliffs to bring matters
such as this to the attention of appropriate law enforcement authorities. Accordingly, Mayor
Kranjac respectfully requests leave from any and all restrictions in the Confidentiality Order in
order to present DM620061 to the Bergen County Prosecutor and the United States Attorney for
the District of New Jersey.

        We thank the Court for its consideration.

                                             Respectfully,

                                              Joseph Tripodi

                                             Joseph Tripodi

cc:     All Counsel (via ECF)
